     Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                  Page 1 of 7 PageID 297



                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE NORTHERN DISTRICT OF TEXAS

                                            )
CONGHUA YAN,                                )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )                Case No. [4-23CV-288-P]
                                            )
MARK H TAYLOR, in his official capacity     )
as Criminal District Office Investigator,   )
TARRANT COUNTY,                             )
and in his private capacity,                )
        Defendant,                          )
and                                         )
RICHARD B HARWELL, in his official capacity )
as Sergeant, TARRANT COUNTY,                )
and in his private capacity,                )
        Co-Defendant.                       )
and                                         )
DAVID F BENNETT, in his official capacity   )
as Sheriff, Deputy, TARRANT COUNTY,         )
and in his private capacity,                )
        Co-Defendant.                       )
—————————————————————)


                                 PLAINTIFF’ S RESPONSE TO
                              DEFENDANTS’ MOTION TO DISMISS
                                  AND BRIEF IN SUPPORT

TO THE HONORABLE JUDGE OF NORTHERN DISTRICT OF TEXAS:

    COMES NOW, the Plaintiff, Conghua Yan, and respectfully submits this Response to Defendants’
 Motion to Dismiss. ECF No 51.

                                         I. INTRODUCTION

    1.        Plaintiff needs to empathize with a fact which defendants attempted to mischaracterize in
 the Motion to Dismiss. In this case, Plaintiff does not seek any criminal remedy or civil remedy related
 to the personal criminal subject occurred in the family court proceeding. Plaintiff has clearly stated
 that “However, the crimes that suspect 1 and suspect 2 committed are not the subject matter of this

                                               Page 1 of 7
    Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                     Page 2 of 7 PageID 298



case. The subject matter of this case is the “requirement set forth by the TCDA’s office” and its
following adjudication acted by defendant and co-defendants.” ECF No 23 ¶12.P.

    2.        Due to the fact that Mr. Ogle consistently failed to comply with the FRCP Rule 10(b)
requirement to state his defense in numbered paragraphs, as stipulated under the clause "must", the
plaintiff has experienced difficulties referring to specific numbered paragraphs in the Motion to
Dismiss. Despite this, the plaintiff will strive to do his best.

    3.        Following are several statements that Mr. Ogle has incorrectly applied to plaintiff:

                     Disgruntled family court litigant Conghua Yan is upset…

                     Yan asks this Court to compel the TCSO to investigate and the CDA to
                      investigate/prosecute alleged crimes

    4.        Mr. Ogle's conduct toward a pro se litigant has been notably unprofessional and hostile.
In court, it has been observed that attorneys refer to each other with respectful terms such as 'Mister'
and 'Missus'. However, when a pro se litigant is present, this level of decorum seems to dissipate.
Additionally, the use of terms such as 'disgruntled', 'upset', and 'family court litigant' by Mr. Ogle
appears inappropriate. The first two terms appear speculative, as Mr. Ogle should not presume to
know the emotional state of the plaintiff. The latter term is irrelevant in this case as the plaintiff has
not presented any disputes pertaining to the Texas Family Code in this Court.

    5.        The plaintiff prefers to be referred to as Mr. Yan during further court proceedings.

    6.        The Administrative Act grants government bodies within the executive branch two
functions: rulemaking and adjudication. In none of the twelve claims has the plaintiff requested that
the Court compel TCSO or CDA to undertake an adjudicatory act, investigate, or prosecute the crime
related to the plaintiff's case. Even if TCSO or CDA voluntarily decide to undertake an adjudicatory
act, investigate, or prosecute the crime related to the plaintiff's case tomorrow, the plaintiff still has
standing in this case. This is because the investigation or prosecution of the plaintiff's case is irrelevant
to this specific case. The plaintiff will strive to explain this in a plain way that Mr. Ogle can easily
understand.



                                                 Page 2 of 7
    Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                     Page 3 of 7 PageID 299



   7.        Suppose a black woman walks into a bank to apply for a mortgage. She has a 10% down
payment and requests a 90% mortgage. The bank informs her that there is a requirement for black
people to provide a 20% down payment. Since she does not meet this requirement, her mortgage
application is declined. The woman goes to court to sue the bank for discriminatory policy,
specifically due to the clause that differentiates based on race. The bank cannot defend itself by stating
that it will process and approve her mortgage application, arguing that she loses standing in the suit.
She did not sue over the application; instead, she filed a lawsuit against the policy itself. The bank’s
lawyer cannot go to court and tell the judge, “Your honor, this disgruntled mortgage applicant is
upset…”. The day the lady comes to the court, she represents the black people!

   8.        In this lawsuit, the plaintiff represents public interest rather than his personal interests.
For the first to eighth claims, and the twelfth one, the plaintiff challenges the policy of Tarrant County
under the official capacity of three individuals, seeking relief based on a facial constitutional
challenge. For the ninth to eleventh claims, the plaintiff files charges against three individuals for
knowingly disregarding laws and procedures during the investigatory process, under their private
capacity. None of the twelve claims are related to the outcome of the plaintiff's personal criminal
complaint.

                                        II. STANDARD OF REVIEW

    9.       Tarrant County Criminal District Attorney Office probably forgot, it was exactly in
Tarrant County, 30 years ago, SCOTUS has ruled a landmarking opinion about what Rule 8(a)(2)
stands in a pleading, “Rule 8(a)(2) requires that a complaint include only "a short and plain statement
of the claim showing that the pleader is entitled to relief." In Conley v. Gibson, 355 U.S. 41 (1957), we
said in effect that the Rule meant what it said:
             "[T]he Federal Rules of Civil Procedure do not require a claimant to set out in
    detail the facts upon which he bases his claim. To the contrary, all the Rules require is "a
    short and plain statement of the claim" that will give the defendant fair notice of what the
    plaintiff's claim is and the grounds upon which it rests." Id., at 47 (footnote omitted). ”
   Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163,
168 (1993). Leatherman v. Tarrant County was citied 2000 times in various opinions.




                                               Page 3 of 7
    Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                     Page 4 of 7 PageID 300



   10.        See Bell Atlantic v. Twombly , 550 U.S. 544, 555, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929
(2007) (A complaint "does not need detailed factual allegations" but rather "enough fact to raise a
reasonable expectation that discovery will reveal evidence of [a necessary element].") True, her
complaint didn't detail such an injury. But "[c]omplaints need not be elaborate." Aker , 854 F.3d at
399–400 (quoting S. Austin Coal. Cmty. Council v. SBC Commc'ns Inc. , 274 F.3d 1168, 1171 (7th
Cir. 2001) ). Bazile v. Fin. Sys. of Green Bay, Inc., 983 F.3d 274, 280-81 (7th Cir. 2020)

   11.        To survive a motion to dismiss, a complaint must allege sufficient facts, accepted as true,
to state a claim for relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.
1937, 1949, 173 L. Ed. 2d 868 (2009). “A claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Id. These standards are the same when a motion to dismiss is based on qualified
immunity. Dyer v. Houston, 964 F.3d 374, 379 (5th Cir. 2020). The crucial question is whether the
complaint pleads facts that, if true, would permit the inference that Defendants are liable under section
1983 and would overcome their qualified immunity defense. Hinojosa v. Livingston, 807 F.3d 657,
664 (5th Cir. 2015).

   12.        For purposes of deciding a motion to dismiss under Rule 12(b)(6) of the FRCP, the Court
must assume that the facts alleged in the complaint are true and construe them in the light most
favorable to the plaintiff. Twombly, 550 U.S. at 555. For its Rule 12(b)(6) review, the Court may
examine the complaint, documents attached to the complaint, and documents attached to the motion to
dismiss that are central to the plaintiff’s claims and referenced in the complaint. Lone Star Fund V
(U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2 010). A Rule 12(b)(1) factual attack
on the court’s subject matter jurisdiction may be based on “(1) the complaint alone; (2) the complaint
supplemented by undisputed facts evidenced in the record; or (3) the complaint supplemented by
undisputed facts plus the court's resolution of disputed facts.” Kling v. Hebert, 60 F.4th 281, 284 (5th
Cir. 2023).

   13.        “federal courts and litigants must rely on summary judgment and control of discovery to
weed out unmeritorious claims sooner rather than later.” Leatherman v. Tarrant County Narcotics
Intelligence & Coordination Unit, 507 U.S. 163, 168-69 (1993)

                                 III. SUMMARY OF MOTION TO DISMISS

                                                Page 4 of 7
     Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                   Page 5 of 7 PageID 301



     14.     In the Motion to Dismiss, Mr. Ogle seek dismissal under FRCP 12(b)(1) and FRCP
12(b)(6) dismissal for two grounds,

             1. Lack of jurisdiction

             2. Qualified immunity

                              IV. ARGUMENT AND AUTHORITIES

     15.     In the Motion to Dismiss, Mr. Ogle laid down the “Factual and Procedural
Background”. Mr. Ogle referred to his version of facts from plaintiff’s First Amended Complaint,
ECF No. 23. Mr. Ogle referred to PageID 65-68, PageID 76-77, PageID 71, and PageID 95-98. Later,
Mr. Ogle uses these referred PageIDs to prove his ground for relief.

     16.     The critical defect is, NONE of these facts what Mr. Ogle mentioned, arise out of these
PageIDs. It is not the Court or plaintiff’s duty to guess or presume where these facts came from, or
which fact Mr. Ogle tried to refer to.

     17.     Furthermore, in the Motion to Dismiss Mr. Ogle never referred any fact from plaintiff’s
First Amended Complaint, ECF No. 23, paragraphs ¶13-¶27, or any fact from ECF No 23 EXHIBIT 1-
5.

     18.     Plaintiff finds it hard to believe that Mr. Ogle's Motion to Dismiss will hold any merit if
it fails to reference accurate facts in the pleading. Plaintiff is countering Mr. Ogle’s Motion to Dismiss
based on best assumptions with good faith as of now.

     19.     When Mr. Ogle stated, 'Yan lacks standing to assert claims arising out of the decisions to
stop investigating and/or not prosecute his allegations of criminality,' he claimed that 'All of Yan’s
claims arise out of law enforcement's discretionary decision-making authority to not continue to
investigate the alleged criminality Yan reported…'. Mr. Ogle tried to reframe this case to fall under
'discretionary decision-making authority,' thereby claiming a lack of jurisdiction. However, the first
through ninth and twelfth claims pertain to policy, not decision-making. There is no precedent ruling
that allows defendant to use the concept of 'arising out' to recategorize plaintiff’s claim. Federal court
is not the proper venue to challenge a county law enforcement discretionary decision. The plaintiff


                                               Page 5 of 7
      Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                  Page 6 of 7 PageID 302



 knew this and did not pursue such a course. Mr. Ogle has misleadingly recharacterized the plaintiff's
 claims using his speculative 'arising out' argument.

     20.      When Mr. Ogle talks about qualitied immunity, he stated “Yan fails to state a claim that
 Yan’s rights have been violated premised on Taylor’s, Harwell’s, or Bennett’s discretionary decision
 making as to whether to continue investigating or prosecuting alleged crimes that Yan had reported.
 Therefore, Taylor, Harwell, and Bennett are entitled to qualified immunity, and this Court should
 dismiss all of Yan’s causes of action (to the extent they are asserted against the three defendants in
 their individual capacities). However, Taylor, Harwell, and Bennett are shielded from liability
 because they did not violate any clearly established statutory or constitutional rights known to
 reasonable person.” Mr. Yan has stated ninth, tenth and eleven claim against Taylor, Harwell, and
 Bennett, but none of claims premised on the discretionary decision of whether to investigate or
 prosecute Mr. Yan alleged crime. I really recommend Mr. Ogle to read ninth, tenth and eleventh claim
 carefully. This is a perfect case of mischaracterizing, like Mr. Yan stated claims for apple, orange,
 grape, but Mr. Ogle came back, wanted to dismiss these claims by saying, “Mr. Yan fails to state a
 claim for watermelon…”.

     21.      Official capacity does not carry immunity. Mr. Ogle did not provide any argument about
 the claims related to the official capacity for the first through ninth and twelfth claims. He only argued
 about individual capacity, then sought to strike the entire pleading.

     22.      The plaintiff has submitted the letter from TCSD in ECF No 23 EXHIBIT 2 as factual
 evidence to sufficiently support the first through ninth and twelfth claims.

     23.      The plaintiff has submitted other EXHIBITs in ECF No 23 with facts described in ECF
 No. 23, paragraphs ¶13-¶27, either as factual evidence or assumed all true, to sufficiently support the
 ninth, tenth and eleventh claims.

                                      V. PRAYER FOR RELIEF

     Based on the foregoing, Plaintiff respectfully requests for the following relief:

       24. Plaintiff prays that the defendants’ Motion to Dismiss be denied as moot.

Respectfully submitted,
                                                Page 6 of 7
       Case 4:23-cv-00288-P-BJ Document 54 Filed 06/22/23                        Page 7 of 7 PageID 303


                                __               /s/ Conghua Yan__________________________

                                                                                               [Conghua Yan]
                                                                          [2140 E Southlake Blvd, Suite L-439]
                                                                                     [Southlake, Texas 76092]
                                                                                               [214-228-1886]
                                                                                      [arnold200@gmail.com]




                                            CERTIFICATE OF SERVICE

I, Conghua Yan, hereby certify that on June 8th, 2023, I have served a true and correct copy of this document on all
counsels on the record through the court CM/ECF system.

                                __               /s/ Conghua Yan__________________________

[Conghua Yan] [2140 E Southlake Blvd, Suite L-439] [Southlake, Texas 76092] [214-228-1886]
[arnold200@gmail.com]




                                                     Page 7 of 7
